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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


     CELLULAR COMMUNICATIONS
     EQUIPMENT LLC,

                        Plaintiff,
                                                      Civil Action No. 6:14-cv-759-JRG
     v.

     SAMSUNG ELECTRONICS CO., LTD.,
     ET AL.,

                        Defendants.

                                     DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

June 6, 2016                *Jury Selection – 9:00 a.m. in Tyler, Texas before Judge Rodney
                            Gilstrap

May 9, 2016                 *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                            Rodney Gilstrap

May 4, 2016                 *Notify Court of Agreements Reached During Meet and Confer

                            The parties are ordered to meet and confer on any outstanding
                            objections or motions in limine. The parties shall advise the Court of
                            any agreements reached no later than 1:00 p.m. three (3) business
                            days before the pretrial conference.

May 2, 2016                 *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                            Proposed Verdict Form, and Responses to Motions in Limine

April 25, 2016              *File Notice of Request for Daily Transcript or Real Time Reporting.

                            If a daily transcript or real time reporting of court proceedings is
                            requested for trial, the party or parties making said request shall file a
                            notice with the Court and e-mail the Court Reporter, Shelly Holmes,
                            at shelly_holmes@txed.uscourts.gov.




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April 18, 2016      File Motions in Limine

                    The parties shall limit their motions in limine to issues that if
                    improperly introduced at trial would be so prejudicial that the Court
                    could not alleviate the prejudice by giving appropriate instructions to
                    the jury.

April 18, 2016      Serve Objections to Rebuttal Pretrial Disclosures

April 4, 2016       Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                    Disclosures

March 28, 2016      Serve Pretrial Disclosures (Witness List, Deposition Designations,
                    and Exhibit List) by the Party with the Burden of Proof

February 29, 2016   *File Dispositive Motions or Motions to Strike Expert Testimony
                    (including Daubert Motions)

                    No dispositive motion or motion to strike expert testimony
                    (including a Daubert motion) may be filed after this date without
                    leave of the Court.

February 29, 2016   Deadline to Complete Expert Discovery

February 8, 2016    Serve Disclosures for Rebuttal Expert Witnesses

January 18, 2016    Deadline to Complete Fact Discovery and File Motions to Compel
                    Discovery

January 18, 2016    Serve Disclosures for Expert Witnesses by the Party with the Burden
                    of Proof

January 4, 2016     *Deadline to File Letter Briefs Regarding Dispositive Motions

January 1, 2016     Deadline to Complete Mediation

                    The parties are responsible for ensuring that a mediation report is
                    filed no later than 5 days after the conclusion of mediation.

December 30, 2015   Comply with P.R. 3-7 (Opinion of Counsel Defenses)

December 4, 2015    *Claim Construction Hearing – 1:30 p.m. in Marshall, Texas before
                    Judge Rodney Gilstrap

November 20, 2015   *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

November 13, 2015   *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)



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November 6, 2015     Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

October 23, 2015     Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                     Submit Technical Tutorials (if any)

                     Good cause must be shown to submit technical tutorials after the
                     deadline to comply with P.R. 4-5(a).

October 23, 2015     Deadline to Substantially Complete Document Production and
                     Exchange Privilege Logs

                     Counsel is expected to make good faith efforts to produce all
                     required documents as soon as they are available and not wait until
                     the substantial completion deadline.

October 9, 2015      Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                     Discovery)

October 2, 2015      File Response to Amended Pleadings

September 18, 2015   *File Amended Pleadings

                     It is not necessary to seek leave of Court to amend pleadings prior to
                     this deadline unless the amendment seeks to assert additional patents.

September 11, 2015   Comply with P.R. 4-3 (Joint Claim Construction Statement)

August 21, 2015      Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

July 31, 2015        Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

July 10, 2015        Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

June 19, 2015        *File Proposed Protective Order and Comply with Paragraphs 1 & 3
                     of the Discovery Order (Initial and Additional Disclosures)

                     The Proposed Protective Order shall be filed as a separate motion
                     with the caption indicating whether or not the proposed order is
                     opposed in any part.

June 12, 2015        *File Proposed Docket Control Order and Proposed Discovery Order

                     The Proposed Docket Control Order and Proposed Discovery Order
                     shall be filed as separate motions with the caption indicating whether
                     or not the proposed order is opposed in any part.

June 5, 2015         Join Additional Parties



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June 1, 2015               *File Notice of Mediator

May 15, 2015               Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
the Court will appoint a mediator. The parties should not file a list of mediators to be considered
by the Court.

        Summary Judgment Motions: Prior to filing any summary judgment motion, the
parties must submit letter briefs seeking permission to file the motion. The opening letter brief
in each of those matters shall be no longer than five (5) pages and shall be filed with the Court no
later than the deadline for filing letter briefs. Answering letter briefs in each of those matters
shall be no longer than five (5) pages and filed with the Court no later than fourteen (14) days
thereafter. Reply briefs in each of those matters shall be no longer than three (3) pages and filed
with the Court no later than five (5) days thereafter. The Court may decide the question on the
submissions or hold a hearing or telephone conference to hear arguments and to determine
whether the filing of any motion will be permitted. Letter briefs shall be filed without exhibits.
Any requests to submit letter briefs after the deadlines outlined above must show good cause.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
to the local rules’ normal page limits.

         Motions under 35 U.S.C. § 101: Parties seeking to file dispositive motions under
35 U.S.C. § 101 before the Court’s Claim Construction Order has issued may do so only upon a
grant of leave from the Court after a showing of good cause, which shall be presented through
the letter briefing process described above. Parties may file dispositive motions under 35 U.S.C.
§ 101 without leave from the Court within two weeks of the issuance of the Court’s Claim
Construction Order without use of the Court’s letter briefing process described above.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.



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        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
shall include a proposed order that lists all of the remaining dates in one column (as above) and
the proposed changes to each date in an additional adjacent column (if there is no change for a
date the proposed date column should remain blank or indicate that it is unchanged). In other
words, the DCO in the proposed order should be complete such that one can clearly see all the
remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
to an earlier version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

       So Ordered and Signed on this


       Jun 15, 2015




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